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                                             #:343


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 7   and Steven Burda
 8   Additional Counsel listed on signature page
 9
                              UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION
11
12   IN RE: TIKTOK, INC., MINOR                        MDL NO. 3144
     PRIVACY LITIGATION
13                                                     2:25-ml-03144-GW-RAO
14
15   THIS DOCUMENT RELATES TO                          INDIVIDUAL CASE NO:
16   Brodiski v. TikTok Inc. et al.                    2:25-cv-03336-GW-RAO
17
18
                                      NOTICE OF APPEARANCE
19
     To the Clerk of the Court and all parties of record:
20
           PLEASE TAKE NOTICE that Cari Campen Laufenberg hereby enters her
21
     appearance in this action for Plaintiffs Tatiana Brodiski and Steven Burda.
22
23         DATED this 12th day of May, 2025.
24                                           KELLER ROHRBACK L.L.P.
25
26
                                             By /s/ Cari Campen Laufenberg
27                                              Derek W. Loeser (pro hac vice)
28                                              dloeser@kellerrohrback.com
                                                Cari Campen Laufenberg (pro hac vice)
                                                   1
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     4915-1816-4034, v. 1

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